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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 DONALD J. TRUMP; THE TRUMP
 ORGANIZATION, INC.; TRUMP
 ORGANIZATION LLC; THE TRUMP
 CORPORATION; DJT HOLDINGS LLC;
 THE DONALD J. TRUMP REVOCABLE                           Civil Action No. 1:19-cv-01136-APM
 TRUST; and TRUMP OLD POST OFFICE
 LLC,

 Plaintiffs,

 v.

 ELIJAH E. CUMMINGS, in his official capacity
 as Chairman of the House Committee on
 Oversight and Reform; PETER KENNY, in his
 official capacity as Chief Investigative Counsel
 of the House Committee on Oversight and
 Reform; and MAZARS USA LLP,

 Defendants.

                                     JOINT STIPULATION
        All parties stipulate that Defendants Elijah E. Cummings and Peter Kenny are dismissed from

this case without prejudice. These Defendants can be dismissed because Intervenor-Defendant

Committee on Oversight and Reform of the U.S. House of Representatives is a proper party and, in

the event that the Court issues a judgment in favor of Plaintiffs, Intervenor-Defendant has represented

that any appropriate relief could be obtained from it.
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Dated: April 29, 2019                                    Respectfully submitted,

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